                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


CONCORD MUSIC GROUP, INC., et al.,

              Plaintiffs,                               Case No. 3:23-cv-01092

              v.
                                                        Chief Judge Waverly D. Crenshaw, Jr.
ANTHROPIC PBC,                                          Magistrate Judge Alistair Newbern
              Defendant.


                     DECLARATION OF ATTORNEY TIMOTHY CHUNG

         I, Timothy Chung, hereby declare pursuant to 28 U.S.C. § 1746, as follows:

         1. I am an attorney at the law firm of Oppenheim + Zebrak, LLP (“O+Z”). I represent

  Plaintiffs Concord Music Group, Inc., Capitol CMG, Inc., Universal Music Corp., Songs of

  Universal, Inc., Universal Music – MGB NA LLC, Polygram Publishing, Inc., Universal Music –

  Z Tunes LLC, and ABKCO Music, Inc. (collectively, “Publishers”) in this matter.

         2. I respectfully submit this declaration in support of Plaintiffs’ Memorandum in

  Opposition to Defendant’s Motion to Dismiss, or, in the Alternative, to Transfer.

         3. I have knowledge of the facts stated herein based on personal knowledge and my

  review of the documents, files, websites, and other items referenced herein. If called upon to do

  so, I am able to testify competently to the matters as stated herein.

         4. Attached as Exhibit A hereto is a true and correct copy of an article by Hayden Field

  published by CNBC on December 22, 2023, entitled “Anthropic, the OpenAI rival, is in talks to

  raise $750 million in funding at an $18.4 billion valuation,” available at https://cnb.cx/3tr884k.

         5. Attached as Exhibit B hereto is a true and correct copy of a webpage from Anthropic’s

  website, entitled “Meet Claude,” available at https://www.anthropic.com/product.



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         6. Attached as Exhibit C hereto is a true and correct copy of a webpage from Anthropic’s

website,     entitled   “Supported    Countries     and   Regions:    Claude.ai,”    available    at

https://perma.cc/AF84-6BS6.

         7. Attached as Exhibit D hereto are true and correct copies of webpages sequentially

shown to users signing up for access to Anthropic’s Claude services, available at https://claude.ai.

         8. Attached as Exhibit E hereto is a true and correct copy of a webpage from Anthropic’s

website, entitled “Glossary,” available at https://perma.cc/NXZ6-DNVR.

         9. Attached as Exhibit F hereto are true and correct copies of datasets uploaded by

Anthropic reflecting human feedback used to “train preference” or reward Anthropic’s AI models,

available at https://huggingface.co/datasets/Anthropic/hh-rlhf.

         10. Attached as Exhibit G hereto is a true and correct copy of Anthropic employee’s

Thompson Paine’s LinkedIn profile page, available at https://www.linkedin.com/in/thompson-

paine.

         11. Attached as Exhibit H hereto is a true and correct copy of a Tweet posted by Anthropic

employee Thompson Paine on X (formerly Twitter), dated July 11, 2023, available at

https://perma.cc/8WXG-VKJY.

         12. Attached as Exhibit I hereto is a true and correct copy of a Tweet authored by

Anthropic, reposted by Anthropic employee Thompson Paine on X (formerly Twitter) on Sept. 7,

2023, available at https://twitter.com/dtompaine.

         13. Attached as Exhibit I hereto is a true and correct copy of a LinkedIn post authored by

Anthropic, shared by Anthropic employee Thompson Paine on LinkedIn on Nov. 21, 2023,

available at https://perma.cc/4VCZ-MLCH.




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        14. Attached as Exhibit K hereto is a true and correct copy of a LinkedIn post authored by

a user requesting “API access to Claude,” to which Anthropic employee Thompson Paine

responded, “Invite sent!” on July 24, 2023, available at https://perma.cc/8M6D-M9ST.

        15. Attached as Exhibit L hereto is a true and correct copy of a LinkedIn post published

by Anthropic employee Thompson Paine on July 19, 2023, available at https://perma.cc/ZML6-

52JC.

        16. Attached as Exhibit M hereto is a true and correct copy of Anthropic employee Brian

Kustera’s LinkedIn profile page, available at https://www.linkedin.com/in/bkustera.

        17. Attached as Exhibit N hereto is a true and correct copy of a webpage from Anthropic’s

website, entitled “Getting access to Claude,” available at https://perma.cc/F6NU-SHXL.

        18. Attached as Exhibit O hereto is a true and correct copy of a webpage from Anthropic’s

website, entitled “Claude API Access,” available at https://perma.cc/TYJ9-WE3Z.

        19. Attached as Exhibit P hereto is a true and correct copy of Lonely Planet USA LLC’s

publicly available Business Entity Details obtained using the Tennessee Secretary of State’s

Office’s online Business Information Search service.

        20. Attached as Exhibit Q hereto is a true and correct copy of an article posted to

Anthropic’s website on Aug. 23, 2023, entitled “Claude 2 on Amazon Bedrock,” available at

https://perma.cc/P3ZR-9LPY.

        21. Attached as Exhibit R hereto is a true and correct copy of an article posted to

Anthropic’s website on Sept. 25, 2023, entitled “Expanding access to safer AI with Amazon,”

available at https://perma.cc/27CP-EKTJ.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 22, 2024, I authorized the electronic filing of the foregoing

with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

to the following counsel of record:

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